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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANTA

UNITED STATES OF -AMERICA, - : Docket No.
v. aE C4 - C237
Je Voo dD. Dobie,

MOTION FOR REDUCTION OF SENTENCE PURSUANT TO
18 U.S.C §3582(c)(2)

AND NOW COMES pro se and hereby prays and respectfully
moves this Honorable Court to consider ‘this case for reduction of sentence
pursuant to Title 18 U.S.C. §3582(c)(2), pursuant to U.S.S.G. Section 1B1.10,
Amemdment 706, Effective November 1, 2007, and made retroactive effective

“March 3, 2008.
I. BACKGROUND
On st 3),200b defendant was Fund Gualte by A “4 of an Indictment
charging the dofendret wih lOCagtoms of herein, 3c "Geoems of bocaune Ave (s 5 grams
of cocaine base, in violation of 21 U.S.C. $846(a)(1) and (b)(1)(A).

At the sentencing on DECEMbex 14,206 the Court sentenced defendant

to a term of 146 months' imprisonment, 5 years’ supervised release, —

e and a Special Assessment of $400.00. Defendant received a 14 month
term of imprisonment based upon a finding of drug quantity of at least 3S‘
grams but less than $0 grams of cocaine base. This resulted in a base offense

level of 2% Defendant's Criminal History Category scored at XW.
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ce - This Court imposed a [4p- month

term of imprisonment.

II. CONSIDERATION FOR REDUCTION OF SENTENCE

Title 18 U.S.C. §3582(c)(2) provides that "...upon motion of the defen-
dant..., the court may reduce the’ term of imprisonment, after considering
the factors set forth in section 3553(a) to the extent that they are applica-
ble, if such a reduction is consistent with applicable policy statements
issued by the Sentencing Commission." (Relevant portion)

In this situation, the Sentencing Commission lowered the cocaine base
section of the Sentencing Guidelines, effective November 1, 2007, Amendment
706. The Seritencing Commission also recommended that Amendment 706 be made
retroactive, effective March 3, 2008. .U.S.S.G. §1B1.10(a) provides, "[w]here
a defendant is serving a term of imprisonment and the guideline range applicable
to that defendant has subsequently been lowered as a result of an amendment
to the guidelines [that is specifically referenced in §1B1.10(d)], a reduction
in defendant's term of imprisonment may be considered under 18 U.S.C. §3582(c)(2)."
The November 1, 2007 amendment to §2D1.1, i.e., Amendment 706, has specifically
been made retroactive effective March 3, 2008. Thus, this Court may consider
a reduction of defendant's sentence pursuant to Amendment 706. Defendant
does realize that such a reduction is not mandatory but is instead committed
to the sound discretion of this Court.

With respect to the factors to be considered pursuant to §3553(a),
defendant submits that he has been engaged in post~sentencing rehabilitative
efforts, as exemplified in the attachments hereto. Section 3553(a) lists

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the factors to be considered in imposing a Sentence, including defendant's
post~amendment guidelines range, and defendant prays and moves the Court
to consider h€& personal and offense characteristics along with his rehabili-
tative efforts, and declare that defendant merits a sentence reduction, and

_ GRANT his motion. Defendant is aware that this Court cannot impose a sentence
lower than any statutory minimum penalty, in this case " - months imprisonment.
Defendant's post-amendment guidelines range is ° - months' imprisonment.
However, this Court cannot impose a sentence lower than . months as required

by statute.
Done this 3rd day of March » 2008.

af ho Submitted,
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- Pro Se
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